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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

United States of America,

                              Plaintiff/Respondent,

vs.
                                                      ORDER
                                                      Cr. No. 97-276(22) (MJD)

Antoine D. Brown,

                              Defendant/Petitioner.

___________________________________________________________________

      Petitioner is pro se.

__________________________________________________________________

      Petitioner has moved the Court for reconsideration of this Court’s Order

dated July 28, 2005 denying his motion for relief pursuant to 18 U.S.C. § 3582.

      Local Rule 7.1(g) provides that motions for reconsideration are prohibited

except by express permission of the Court, which will be granted only upon a

showing of compelling circumstances. The Court will treat Petitioner’s motion for

reconsideration as a request to file such a motion.
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      The Court has reviewed Petitioner’s submission and finds no compelling

circumstances upon which to grant permission to file a motion for

reconsideration.

      Accordingly, Plaintiff’s request to file a motion for reconsideration is

DENIED.

Date: September 14, 2005



                                         s/ Michael J. Davis
                                         Michael J. Davis
                                         United States District Court
